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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION AT LEXINGTON


CIVIL ACTION NO. 05-382-JMH                                         ELECTRONICALLY FILED

UNITED STATES OF AMERICA                                                              PLAINTIFF


VS.                    MOTION FOR SUMMARY JUDGMENT AND
                        MOTION TO DISMISS COUNTERCLAIM


MARY ELIZABETH CLAY, ET AL                                                        DEFENDANTS

                                      *    *   *    *     *


       Comes the Plaintiff, the United States of America, through counsel, and moves this Court

for Summary Judgment on its original Complaint filed herein, and for Dismissal of the

Counterclaim filed against it by Defendant Mary Clay. Plaintiff moves for dismissal of the

Defendant’s Counterclaim on the following grounds: (1) the counterclaim is barred by the

Discretionary Function Exception of the Federal Tort Claims Act; (2) Count 1 of said

counterclaim fails to state a claim for promissory estoppel; (3) this Court lacks subject matter

jurisdiction over Counts 2 and 3 of said counterclaim; and (4) Counts 2 and 3 fail to state a claim

under which relief may be granted. In support of its Motion for Summary Judgment on its

original Complaint filed herein, Plaintiff adopts and incorporates its original Motion,

Memorandum and supporting documentation as if fully restated herein.

       An accompanying Memorandum of Law is filed in support of this Motion.

                                                        Respectfully submitted,
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                                        JAMES A. ZERHUSEN
                                        United States Attorney


                                 By:    s/ Marianna Jackson-Clay
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                                 CERTIFICATE OF SERVICE



       I hereby certify that on February 27, 2009, I electronically filed the foregoing with the

clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to

the following:

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                                                     s/ Marianna Jackson-Clay
                                                     Assistant United States Attorney




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